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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

IN RE:                            §           Case No. 22-60043
                                  §
FREE SPEECH SYSTEMS, LLC,         §           Chapter 11 (Subchapter V)
                                  §
     Debtor.                      §




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